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ATTACHMENT B
CERTIFICATE OF CORPORATE RESOLUTIONS

WHEREAS, Balfour Beatty Communities, LLC (the “Company”) has been engaged in
discussions with the United States Department of Justice, Criminal Division, Fraud Section (the
‘Fraud Section”) regarding issues arising in relation to the Fraud Section’s investigation of
violations of Title 18, United States Code, Section 1031(a)(1), Major Fraud against the United
States by the Company;

WHEREAS, in order to resolve such discussions, it is proposed that the Company enter
into the Plea Agreement with the Fraud Section (the “Agreement”);

WHEREAS, the Company’s General Counsel and External Counsel advised the President
and Class A Manager of the Company, Christopher Williams, of the Company’s rights, possible
defenses, the Sentencing Guidelines’ provisions, and the consequences of entering into such
agreement with the Fraud Section;

Therefore, the President and Class A Manager of the Company has RESOLVED that:

1. The Company (a) acknowledges the filing of the one-count Information charging
the Company with a felony violation of Major Fraud against the United States in violation of
Title 18, United States Code, Section 1031(a)(1); (b) waives indictment on such charge and
enters into the Agreement with the Fraud Section; and (c) agrees to pay a Total Criminal
Monetary Amount of $65,532,209 under the Agreement with respect to the conduct described
in the Information;

2. The Company accepts the terms and conditions of the Agreement, including, but
not limited to, (a) a knowing waiver of its rights to a speedy trial pursuant to the Sixth
Amendment to the United States Constitution, Title 18, United States Code, Section 3161, and

Federal Rule of Criminal Procedure 48(b); and (b) a knowing waiver for purposes of the

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Agreement and any charges by the United States arising out of the conduct described in
Attachment A to the Agreement of any objection with respect to venue and consents to the filing
of the Information, as provided under the terms of the Agreement, in the United States District
Court for the District of Columbia; and (c) a knowing waiver of any defenses based on the
statute of limitations for any prosecution relating to the conduct described in Attachment A to
the Agreement and in the Information or relating to conduct known to the Fraud Section prior
to the date on which the Agreement is signed that is not time-barred by the applicable statute of
limitations on the date of the signing of the Agreement,

3. The President and Class A Manager of the Company is hereby authorized,
empowered, and directed, on behalf of the Company, to execute the Agreement substantially in
such form as reviewed by the Company’s General Counsel and External Counsel at this meeting
with such changes as the President and Class A Manager of the Company may approve;

4. The President and Class A Manager of the Company is hereby authorized,
empowered, and directed to take any and all actions as may be necessary or appropriate and to
approve the forms, terms, or provisions of any agreement or other documents as may be
necessary or appropriate to carry out and effectuate the purpose and intent of the foregoing
resolutions;

5. All of the actions of the President and Class A Manager of the Company, which
actions would have been authorized by the foregoing resolutions except that such actions were
taken prior to the adoption of such resolutions, are hereby severally ratified, confirmed,
approved, and adopted as actions on behalf of the Company; and

6. The President and Class A Manager of the Company further authorizes,
empowers, and directs the General Counsel of the Company, Leslie Cohn, to appear in the

United States District Court for the District of Columbia on behalf of the Company as its

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corporate representative to take such actions as may be necessary or appropriate to enter the

plea of guilty and in connection with sentencing.

Date: | By: if (é~ af

hristopher Williams
President and Class A Manager
Balfour Beatty Communities, LLC

 

 

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